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 1 McGREGOR W. SCOTT
   United States Attorney
 2 TODD A. PICKLES
   MICHAEL M. BECKWITH
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00235 TLN
12                                 Plaintiff,             STIPULATION TO CONTINUE JUDGMENT AND
                                                          SENTENCING HEARING; ORDER REQUIRING
13                           v.                           APPEARANCE OF DEFENDANT
14   CONSTANTIN SCHILLER,
15                                 Defendant.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant

19 Constantin Schiller, by and through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, the judgment and sentencing hearings for defendant Schiller on

21 August 23, 2018. The United States had filed its sentencing documents and Mr. Schiller made travel

22 arrangements to appear. Unfortunately, the authorization for entrance into the United States required

23 from the pertinent federal agencies was not completed in time for his travel.

24          2.       By this stipulation, the parties jointly request that the judgment and sentencing hearing

25 for defendant Schiller be continued to September 20, 2018 at 9:30 a.m. The parties have conferred with

26 the Courtroom Deputy and the Court’s interpreter coordinator and that date is also available for a

27 Romania interpreter. The continuance is necessary to complete the travel authorization for Mr. Schiller

28 to enter the United States to appear for sentencing.

      STIPULATION TO CONTINUE JUDGMENT AND                1
      SENTENCING; ORDER
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 1          3.       Additionally, defendant Schiller expressly agrees that he will appear before the Court on

 2 the date of September 20, 2018, and acknowledges that his failure to appear on that date may result in

 3 his immediate incarceration, that the United States may file additional charges for his failure to appear,

 4 which could result in a sentence of up to 10 years imprisonment in addition to the sentence imposed in

 5 this case, and that any failure to appear may jeopardize any motion for downward departure under

 6 U.S.S.G. § 5K1.1 that the United States has filed based on any substantial assistance provided to the

 7 prosecution to date or otherwise affect the United States’s sentencing recommendation.

 8          4.       Counsel for the defense agree that he will have this stipulation and proposed order read or

 9 translated to his client in his own language, and will provide a copy of the Court’s order to his client and

10 directly inform him upon entry of the Court’s order.

11          IT IS SO STIPULATED AND REQUESTED.

12
     Dated: August 22, 2018                                   McGREGOR W. SCOTT
13                                                            United States Attorney
14                                                            /s/ Todd A. Pickles
                                                              TODD A. PICKLES
15                                                            MICHAEL M. BECKWITH
                                                              Assistant United States Attorneys
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18   Dated: August 22, 2018                                   /s/ Richard Dudek (as authorized
                                                              8/22/2018)
19                                                            RICHARD DUDEK
20                                                            Counsel for Defendant
                                                              CONSTANTIN SCHILLER
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      STIPULATION TO CONTINUE JUDGMENT AND                2
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 1                                                   ORDER

 2          This matter came before the Court on the parties’ stipulation to request a continuance of the

 3 judgment and sentencing hearing for defendant Constantin Schiller. For the reasons stated above, and

 4 good cause showing, the Court GRANTS the parties’ request and CONTINUES the judgment and

 5 sentencing hearing to September 20, 2018 at 9:30 a.m.

 6          IT IS FURTHER ORDERED THAT defendant Schiller shall personally appear on September

 7 20, 2018 at 9:30 a.m. in this Court.

 8          IT IS SO FOUND AND ORDERED this 22nd day of August, 2018.

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12                                                               Troy L. Nunley
                                                                 United States District Judge
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      STIPULATION TO CONTINUE JUDGMENT AND               3
      SENTENCING; ORDER
